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                         14.)
   No. .100.]                            AN ACT
   'To regliate the conuct and to maintain the freedom and purity of clectionls; to
        prescribo the mode of making, and designate the officers who shalt mkce the
        returns therof; to prevent fraud, violence, intimidation, riot, tuilit, bribery
        or corruption at elections or it any registration or revision of registration; it
        limit (ile powers and duties of the sherifls of OI' parishes of Orleanis and
        1efferson; to prescriho the powers and duties if the Board iild officers of Hitt
        Metropolitan Police ini reference to elections; to prescribo the mode of enier-
        ing on the rolls of the Sonate and House of Representatives the namies
        members; to empower the Governor to preserve peae ani order, toit forte
        tle laws; to limit the powers and duties of' the Mayors of the cities of New
        Orlenis :n .1efferson with regard to elections; to prolibit Distriit or l'ish
        Judges from issuing certain writs to Commissioners of' Election; to make an
        appropriationFior fhe expenses of tle next revision of the registration miti
        of the next election; tnld to eliforie article mne     iidrel amd thie (it thi
        conistitutioni.

      S.cio 1. De it cmated bU th Senaitand i1/iuse u Bipreclatives
   If te Ste <{  i  Louisiana, in General Assembly cunculed, That all ru..irnjin
   elections for State, parisi and judicial officers, members of the Ge- enoui,
   eral. Assembly, and for members of Coungress ,shall he ]held on the
   first Monday in Novomber, and said elections shall be styled the gon-
   oral elections.
      They) shall be hold in the maner and form, anad subject to the
   regulations hereinafter prescribed, and no other.
      SEC. 2. I         arther enacted, etc., That election for 110present-
   atives in the General Assembly shall bo hold on the first Monday of m cons ro,
   November, one thousand eight hundred and seventy, and every two 1 i                 al
   (2) years thereafter; and all elections to supply the place of Sena- Assem.1y.
   ators in the General Assembly, whose terms of servico shall have
   expired, shall be held at the same time as herein provided for the '2"
   election of Representatives.
      Sm. 3. Be itfurther enacted, etc., That all elections shall be held in
   each parish at the several election polls or voting places to be estab- W1itn,-
   lished as is hereinafter prescribed.
      SEc. 4. Be it fur'ther enacted, etc., That all elections shall be
   completed in one day, and the polls shall be kept open at each poll won   heininjii
   or voting place, from the hour of six in the morning until six o'clock
   in the afternoon.
      SEc. 5. Be it f'urther enacted, etc., That each parish in this State,
   except the parishes of Orleans and Jefferson, is hereby fixed as an (
   election precinct, and the supervisor of registration in each of said
   parishes shall direct what number of polls or voting places shall be win
   established in each precinct, fix the places of holding the election,
   and appoint commissioners of election for each poll or voting place.
   Ii the city of New Orleans, each ward shall constitute a precinct,
   and in the remaining part of the parish of Orleans, tihe supervisor
   of registration for the said parish shall fix both the precinits and
   voting places in each precinct, and in the parishi of Jefferson, the
   supervisor of registration shall fix both the precincts andilthe voting
   places in: each precinct; in the parishes of Orleans and Jefferson th
   slipervisor of registration of each parish shall appoint commissohunri
   of election thorefor, as in the other parishes. Any duly regisifoni I
   voter may vote at any poll or voting place within his precinct.
                                                                                            7
           6mc.
             . Be it further enacted, ec., That the elections at each pot1l
   or voting place shall be presided over by three commissioners of coii [neriiii,
   election, residents of the parish, who shall b6 able to road and write, "" " *
   to be appointed by the sup'ervisor of registration for the parish,
             19
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     itlecianic aiy ipart of thd wages due to such laborter, employe, tenani
     or mechanic, on account of any vote which such laborer, cinploye,
     tenant or mechanic has given or purposes to give, shall be demed
     guilty of a insdemeanor, and on conviction thereof sildl be puntislieI
      by a line of not less lhan five hiunlrcd dollars, one. lall of which
      shall go to the school fund of the parish in which the offense was
      committed, and by iprisonment in the parish prison for not less
     than three months.
        SEa. 69. Be it fu'rth'er enacled, etc., That any person who shall
     molest, disturb, interfere with, or threaten with violence, any com-
      missioner of election or person in charge of the ballot boxes, while ston4 Ie.
     in charge of the same, between the time of the close of tho polls
      and the time that said ballot boxes are delivered to the supervisor of
     registration, shall be domed guilty of a felony, and upon conviction
     thereof shall be punished by a line of not less than live hiuidred dol-
     lars, or by imprisonmIent in the poitentiary not less than one year,
     or both, at the disoretion of the court.
        Smc. 70. Be it fuirther cIaited, etc., That any person not auithorized iwin" ile
     by this law to receive or count the ballots at n election, who shall, coung of ha:.
     during or after any election, and before the votes have been counted '"
     by the supervisors of registration, disturb, displace, conecal, destroy,
     handle or touch any ballot, after the same has been received front
     the voter by a commissioner of election, shall be doiemed guilty of
     a misdonieanor, amd shall, upon conviction thereof, be punished by
     a fline of not less than one hundred dollars, or by iiprisonmicnt for
     not less than six months, or both, at tihe discretion of the court,
        SEC. 11. Be itwft/mc enacted, et., That any person not atithorizei
     by this law to take charge of the ballot boxes at the close of the ldee- IiteLfi vu'
     tion who shall take, receive, conceal, displace or i] Iany manner han-
     die or disturb any ballot box at any time between tihe hour of the
     closing of the polls aml the transmission of the ballot box to the
     supervisor of registration, or during such transmission, or at any
     time prior to the counting of the votes by the supervisor of registra-
     tion, shall be deemed guilty of a felony, and upon conviction thereol
     shall be punished by a fine of not less than five hundred dollars, or
     by imprisonment in the penitentiary not less than one year, or both,
     at the discretion of the court.
        SEC. 72. Re it fmcrter eaceted, etc., That if any person shalt by
     bribery, mcnace, willful falsehood, or other corrupt means, directly or Initrefnce
     indirectly attempt to influence any elector of this State in the giving ' fe I
     his vote or ballot, or to induce him to withhold the same, or disturb rrrage.
     or hinder him in the free exercise of the right of suffrage at any
     election in this State, he shall, on conviction thereof, be deemed guilty
     of a misdemeanor, and be fined not more than five hundred dollars,
     and be imprisoned in the parish prison for a term not exceeding six
     months, and shall also be ineligible to any office in the State for the
     term of two years.
        SEC. 73. Be it further enacted, etc., That it shall be unlawful for any
     person to carry any gun, pistol, bowie knife or other dangerous w*eapoii
     weapon, concealed or unconcealed, on any day of election during the
     hours the polls are open, or on any day of registration or revision of
     registration, within a distance of one-half mile of any place of regis-
     tration or revision of registration; any person violating the provisions
     of this section shall be deemed guilty of a misdemeanor, and on con-
     viction shall be punished by a fine of not less than one hundred dol-
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                       lars, and by imprisounment in the parish jail foi- not fess than bii
                       month; provided, that the provisions of this section shall -not apply
                       to any commissioner or officer of the election or supervisor or assist-
                      -ant supervisor of registration, police oftlicer or other person
                       authorized to preserve the peacC on days of registration or election.
                          Sc. 74. lie itfiurther enacted, etc., Tluth no person sAall give, sell
       riquors.      .or barter any spirituous or intoxicating liquors to any person oi the
                       day of election, and any person found guilty of violating the pro-
                       visions of this section shall be fined in a sum of not less than one
                       hundred dollars, nor more than three bundred dollars, which shall go
                       to the school fund.
                          SEc. 75. Be it furthe,' enacted, etc., That whoever, knowing that he
       corrnptly vot. is not a qualifiCd elector, shall vote or attempt to vote at any election,
       ing.         shall be fined in a sunm not to exceed one hundred dollars, to be re-
                   covered by prosecution before any court of competent jurisdiction.
                     SE. 76. 1e it fur-ther enacted, etc., That whoever shall knowingly
       nonumpl u give or vote two or more ballots folded as one at any election, shall
                   be fined in a sun not to exceed one hundred dollars, to be recovered
                   by prosecution before any court of competoutjurisdiction.
                     SEc. 77. lc it further onacted, etc., '11iat whoever, by bribery or by
       Briborv on0~a promise to give employment or higher wages to any person, at-
       Mn"voter,.  tempts to influence any voter at any election, shall be deemed guilty
                    of a misdemeanor, aid upon conviction thereof, shall be punished by
                    a fine of not less than' one hundred dollars, htid by imprisonment in
                       the parish prison for not less than three months.
                           8Se. 78. /e "i /re*nacted, do., That whoever villfully aids or
       o1,aiinggiln abets any one, not legally qualified, to vote or attempt to vote at any
       Votn.         I election, shall be lined in a sutu of not less than fifty dollars, to be
                       recovered by prosecution before any court of competent jarisdiction.
                           SEC. 7). Be it fNitihcr enacted, etc., That whoever is disorderly at
                       any poll or voting place during an election, shall be fined in a riun
                       not less than twenty dollars, to be recovered by prosecution beore
                       any court of competent jurisdiction.
                           SEC. 80. Be it further enacted, etc., That whoever shall molest, in-
                       terropt or disturb any meeting of citizens assembled to transact or
              us: 01   discuss political matters, shall be fined in a sum not less than fifty
                       dollars, to be recovere( by prosecution. before any court of competent
                       jurisdiction.
                           Any sheriff, constable or polico officer present at the violation of
                       this section shall forthwith arrest the offender or offenders, and con-
                       yey him or them, as soon as practicable, before the proper court.
                           Sac. 81. Be it further enacted, etc., That the court imposing 'iny
                        fine, as directed in sections seventy-four, peventy-five, seventy-six,
        ulpIon,,it. seventy-seven, seventy-eight, seventy-nine and eighty of' this act,
                        shall commit the person so fined to the parish prison until the fine
                       is paid; Provided, That said imprisonment shall not exceed .ix
                        months.
                           Sia. 82. le it further enacted, etc., That, in cases where any oath
                       or affirmation shall be administered by any supervisor of registration,
       Pe'rjuoV.        assistant supervisor of registration :r coninussioner of election, in the
                       performance of his duty as prescribed by law, any person swearing or
                       affirming falsely ii the premises shall be deemed guilty of perjury,
                        and subjected to the penalties provided by the law for perjury.
       D111) O.            Sac. 83. Be it further enacted, etc., That the Governor shall tal
                 Ira - all necessary itCps to secure a fair*,. fre and peaceable election;
                        and         on the days of election, have paramount charge and Con-
                                    Oshll,
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     trol of the peace and order of the State, over all peace and police
     officers, anid shall have the command and direction in'chief of alli police
     oflicers, by whonsoever appointed, and of all sheriffs and constables
     in their capacity as officers of the peace.
        SEC. 84. Ie it further enacted, et1. That to defray. tho Xpell"S
     of the next revision of registration, and of the next gonoetal election, v.1 nn-s
     there is hereby appropriated out of any fnids in the treasury not
     otherwise appropriated, the sum of fifty thousand doldlar ($50,000),
     or so muneh thereof as may be necessary.
        Sina. 85, Be itfurlther enacted, etc., That all laws or aNs Ofi lawc
     contrary .to the provisions of this act, and all lays relating to Ihe
     same subject matter are hereby repealed, and that this act shall Lakde
     effeet froin and after its passage.
              (Signed)                            MORTIMEPR CARE,
                                Speaker or the House of R1opreseiitativei.
             (Signed)                           OSCAR J. :DUNN,
                        Libutenant Governor and President of the Seiate.
       Approved March 10, 1870.
           (Signed)                                H. C. WARMIOTIH,
                                         Governor of the State of Louisiana.
       A true copy:
                  G-o. E. Boven,
                               Secretary of State.




     [No. 101,1                          AN ACT            -

     To define and regulate the cost of the Clerks, Shariffi,   Recordern and Notaries
         Publie throughout the State of Louisiana, and providing forfeitures antd
         penalties for overcharging or failing to perforin their duties, and the motde of
          collecting their fees.
        SECTION 1. Be it enacted by the Senate and House of Represenalices
     of the State of Louisiana, in General Assembly convened, That the we                   .   'ar   .
     clerks of the district courts throughout the State shall be entitled to
     demand and receive the following fees of office, and no more; and
     they shall not be entitled to charge any other fees of . office than
     those specially set forth therein, for any services as clerks which they
     may be required to render:
        For indorsing, registering and filing petition, for all, ten cents.
       For indorsing, registering and filing answer, for all, ten cents.
        For issuing citationlwith copy of same, with certificate andl seal on
     each, fifty cents, one charge for both.
       For issuing attachment, with copy of same, with certificates :\il
     seals on both, one dollar, one charge for both.
       For issuing fieri facias, with seal, fifty cents.
       For issuing writ of seizure and sale, with seal, one dollar.
       For issuing writ of sequestration, with copy of same, with certifi-
     cates and seals; one. dollar, one charge for both.
       For issuing writof certiorari,with copy df same, with certificates
     and seals, one dollar, one charge for both.
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